                                     Case 2:21-cv-00103-kjd Document 1-1 Filed 04/01/21 Page 1 of 1
JS 44 (Rev. I 0/20)                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form. approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCT7ONS ON NEXT PAGE OF THIS FORM)
I. (a) PLAINTIFFS                                                                                            DEFENDANTS

          Mark Kemp                                                                                           S.B. Collins, Inc.

    (b)   County of Residence ofFirst Listed Plaintiff Franklin                Cty, VT                        County of Residence ofFirst Listed Defendant Franklin Cty, VT
                            (EXCEPT IN U.S. PLAJNTTFF CASES)                                                                        (JN U.S. PLAIN11FF CASES ONLY)
                                                                                                              NOTE:   IN LAND CONDEMNATION CASES, USE TIIE LOCATION OF
                                                                                                                        TIIE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (lfKnown)
          Matthew M. Shagam, Esq., Rich Cassidy Law
          1233 Shelburne Rd., Ste. 05, S. Burlington, VT 05403
       02-   - 144                                                                                  a
II. BASIS OF JURISDICTION (Place an''.\"'' inOneBoxOn/y)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                          (For Diversity Coses Only)                                    and One Box for Defendant)
01     U.S. Government                ~3      Federal Question                                                                     PTF         DEF                                         PTF     DEF
          Plaintiff                             (U.S. Government Not a Party)                       Citizen of This State         ~ I         O    I   Incotporated or Principal Place      O  4   ~4
                                                                                                                                                          of Business In This State

02     U.S. Government                04      Diversity                                             Citizen of Another State          0   2   0    2   Incorporated and Principal Place     O    5   0    5
          Defendant                             (Indicate Citizenship ofParties in Item III)                                                             of Business In Another State

                                                                                                    Citizen or Subject of a           0   3   0    3   Foreign Nation
                                                                                                      Foreign Country




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  110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY                 625 Drug Related Seiznre                                               375 False Claims Act
  120 Marine                           310 Airplane                 0   365 Personal Injury -               of Property 21 use 881                                             376Qui Tam(31 USC
  130MillerAct
  140 Negotiable Instrument
  150 Recovery of Oveipayment
                                       315 Airplane Product
                                           Liability
                                       320 Assault, Libel &
                                                                    •        Product Liability
                                                                        367 Health Care/
                                                                            Phannaceutical
                                                                                                        690 Other                                                                  3729(a))
                                                                                                                                                                               400 State Reapportionment
                                                                                                                                                                               410 Antitrust
      & Enforcement of Judgme              Slander                          Personal Injury                                                                                    430 Banks and Banking
0151 Medicare Act                      330 Federal Employers·               Product Liability                                                                                  450 Commerre
0 152 Recovery of Defaulted                Liability                0   368 Asbestos Personal                                                 835 Patent - Abbreviated         460 Deportation
      Student Loans                    340Marine                             Injury Product                                                       New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)             345 Marine Prodnct                    Liability                                                        840 Trademark                        Corrupt Organizations
0   153 Recovery of Overpayment            Liability                 PERSONAL PROPER1Y              t::::::J~~i:[:::::::t::l                  880 Defend Trade Secrets         480 Consumer Credit
        of Veteran's Benefits          350 Motor Vehicle

                                                                    § 3700tberFraud                                                               Actof2016                        (15 USC 1681 or 1692)




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    160 Stockholders" Suits            355 Motor Vehicle              371 Truth in Lending                                                                                     485 Telephone Consumer
    190 Other Contract                     Product Liability          380 Other Personal              720 Labor/Management                                                         Protection Act
    195 Contract Prodnct Liability     360 Other Personal                 Property Damage                 Relations                           861 HlA (1395ft)                 490 Cable/Sat TV
    196 Franchise                           Injury                  0 385 Property Damage             740 Railway Labor Act                   862 Black Lung (923)             850 Securities/Commodities/
                                       362 Personal Injury -              Product Liability         X 751 Family and Medical                  863 DJWC/DIWW (405(g))               Exchange
                                           Medical Malpractice                                            Leave Act                           864 SSID Title XV!               890 01her Statutory Actions
                                                                                                      790 Otber Labor Litigation              865 RSI (405(g))                 891 Agricnltnral Acts
                                       440 Other Civil Rights           Babeu Corpus:                 791 Employee Retirement                                                  893 Environmental Matters
                                       441 Voling                       463 Alien Detainee                Income Security Act                                                  895 Freedom of Information
    230 Rent Lease & Ejectment         442 Employment                   510 Motions to Vacate                                                 870 Taxes (U.S. Plaintiff            Act
    240 Torts to Land                  443 Housing/                         Sentence                                                              or Defendant)                896 Arbitration
    245 Tort Product Liability             Accommodations               530 General                                                           871 !RS-Third Party              899 Administrative Procedure
    290 All Other Real Property        445 Amer. w/Disabilities -       535 Death Penalty                                                          26USC7609                       Act/Review or Appeal of
                                           Employment                   Other:                          462 Naturalization Application                                             Agency Decision
                                       446 Amer. w/Disabilities -       540 Mandamus & Other            465 Other Immigration                                                  950 Constitntionality of
                                            Other                       550 Civil Rights                    Actions                                                                State Statutes
                                                                        555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an 'T" in One Box Only)
~I     Original          0 2 Removed from                 03        Remanded from              D4   Reinstated or     D       5 Transferred from       D6     Multidistrict           D 8 Multidistrict
       Proceeding               State Court                         Appellate Court                 Reopened                    Another District              Litigation-                  Litigation -
                                                                                                                                (specify)                     Transfer                     Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional stllhlles 11nless tlitwsity):
VI. CAUSE OF ACTION                     1-2s_u_._s._c_.Se_c._2_00_1.;...e_t_se..:q_.- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                         Brief description of cause:
                                         Retaliatory discharge for use of FMI.A/VPFLA rights.
VII. REQUESTED IN                       0      CHECK IF THIS IS A CLASS ACTION                          DEMANDS                                     CHECK YES only if demanded in complaint
     COMPLAINT:                                UNDER RULE 23, F.R.Cv.P.                                                                             JURY DEMAND:                 ~Yes       0No

VIII. RELATED CASE(S)
                                              (See instructions):
      IFANY
DATE
                                                                     JUDGE
                                                                                    ----------------
                                                                        SIGNATURE OF ATTORNEY OF RECORD
                                                                                                                                              DOCKEf NUMBER
                                                                                                                                                                        ------------
Mar 31, 2021                                                            ls/Matthew M. Shagam,       E~.j,/(,,){j- llf/2 /
FOR OFFICE USE ONLY

    RECEIPT#    o\o5          JMOUNT            4 (Y2 .                      APPL YING IFP                                    JUDGE                            MAO.JUDGE              \DOC
                                                                                                                                          a'_ d \ - C\J             r \   63 ·t2-3 t5
